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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

Center for Public Integrity,                     |
                                                 |
        Plaintiff,                               |
                                                 |
v.                                               |   Civil Action No. 18-1173 (ABJ)
                                                 |
U.S. Department of Energy, et al.,               |
                                                 |
        Defendants.                              |

     PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT AND OPPOSITION
             TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


        Plaintiff, the Center for Public Integrity, moves for summary judgment pursuant to

Federal Rule of Civil Procedure 56 and opposes Defendants’ Motion for Summary Judgment.

Plaintiff’s Memorandum of Points and Authorities, Statement of Material Facts as to Which

There Is No Genuine Issue and a proposed Order accompany this motion.

        Undersigned counsel certifies that the attached exhibit is an accurate copy of Document

2, as produced by the U.S. Department of Defense to Plaintiff during this litigation.



                                             Respectfully submitted,

                                                    /s/
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

Center for Public Integrity,                     |
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       Plaintiff,                                |
                                                 |
v.                                               |   Civil Action No. 18-1173 (ABJ)
                                                 |
U.S. Department of Energy, et al.,               |
                                                 |
       Defendants.                               |

      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
PLAINTIFF’S CROSS-MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION
          TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


       This is an action under the Freedom of Information Act ("FOIA"), 5 U.S.C. § 552, as

amended, to secure the production of certain unclassified agency records. In response to FOIA

requests, Plaintiff has received 16 responsive documents, with redactions, while Defendant U.S.

Department of Energy (“DOE”) withheld one document in full.

       Plaintiff does not contest the adequacy of Defendants’ search for responsive records. As

detailed below, Plaintiff objects to many of DOE’s redactions from these unclassified documents

and to the withholding of Document 17. In some instances, DOE has redacted information about

the U.S. government’s consultations with other countries, even though Defendant U.S.

Department of State (“State”) did not recommend making any redactions. In other instances, the

U.S. Department of Defense (“DoD”), to which the 16 documents were also referred, made

additional redactions, but Defendants have not provided the Court with justifications for these

redactions.
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                                  PLAINTIFF’S FOIA REQUEST

          At the direction of Congress and the President, the Department of Defense in 2017 began

an updated Nuclear Posture Review (“NPR”) to determine the role of nuclear weapons in U.S.

security strategy. DoD reported the results of this NPR in February 2018 (the report and some

related materials are available from DoD online at https://dod.defense.gov/News/SpecialReports/

2018NuclearPostureReview.aspx). In 2017, through its own investigation, Plaintiff learned that

several national laboratories, which are operated by contractors on behalf of the Department of

Energy, had offered or were offering information to DoD relevant to the NPR. Plaintiff is not

aware that DoD formally requested such input from the national laboratories.

          On September 21, 2017, Plaintiff requested from DOE pursuant to FOIA “all reports …

produced by national laboratories for consideration in the upcoming Nuclear Posture Review.”

See Supplemental Complaint, Docket No. 9, at ¶ 7; and Declaration of Delilah Perez, Exhibit A,

Docket No. 20-4.

          On May 14, 2018, DOE notified Plaintiff that it had located 17 documents responsive to

the request and was withholding document 17 in its entirety pursuant to Exemption 5. DOE

referred the other 16 documents, amounting to 250 pages, for review by Defendant State,

because they “contain information which may have an adverse impact on United States

diplomatic relations.” Declaration of Eric F. Stein, Exhibit 1, Docket No. 20-8.

          On May 17, 2018, Plaintiff appealed the withholding of document 17 to DOE’s Office of

Hearings and Appeals. On May 29, 2018, the Office of Hearings and Appeals denied Plaintiff’s

appeal.

          On May 18, 2018, Plaintiff initiated this lawsuit.
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          On August 3, 2018, State completed its review of the 16 documents and determined that

it had “no objection to the release of Department of State equities.” However, State

recommended that DOE refer the documents to the Department of Defense for review, and DOE

did so.

          On November 13, 2018, DoD produced the 16 documents to Plaintiff, with significant

redactions. The documents produced are entirely unclassified, and Documents 2 through 16 1

each carry an identical explanation and disclaimer on the first page, stating:

          This paper was prepared as background reading for officials participating in the
          2017 Nuclear Posture Review (NPR). It was produced by an informal study group
          consisting of technical experts from the three NNSA national laboratories and is
          one of a set of such background papers on topics of likely importance to the 2017
          NPR where the technical expertise of the NNSA national laboratories is relevant.
          This paper does not provide policy recommendations. As an unclassified
          background paper, it is intended to help frame key issues, assemble relevant
          background information, and sketch out alternative pathways forward. A more
          comprehensive discussion of these issues at the classified level would be
          beneficial. The views expressed here are those of the study group only and do not
          represent official positions of the NNSA national laboratories as institutions, nor
          of any particular individual participant in the study group.

See, e.g., Document 2, “The Future of the Nuclear Stockpile,” which accompanies this motion as

an exhibit.



                                                 ARGUMENT

I.        Standard of Review

          Summary judgment is appropriate when there is no genuine issue as to the material facts,

and the moving party demonstrates it is entitled to judgment as a matter of law. Fed. R. Civ. P.




1
  Document 1, filed with the Perez Declaration as Exhibit B (Docket No. 20-5), is exceptional in lacking this
language. DOE has withheld Document 17 in full, so its contents are not known to Plaintiff.
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56; Diamond v. Atwood, 43 F.3d 1538, 1540 (D.C. Cir. 1995). A court reviews agency handling

of a FOIA request de novo. 5 U.S.C. § 552(a)(4)(B).

       In a case brought under FOIA, “the burden is on the agency to sustain its action.” 5

U.S.C. § 552(a)(4)(B); see also Electronic Privacy Information Center v. Dep’t of Homeland

Security, 384 F. Supp. 2d 100, 106 (D.D.C. 2005). While FOIA includes exemptions from

disclosure, “these limited exemptions do not obscure the basic policy that disclosure, not secrecy,

is the dominant objective of the Act.” Dep’t of the Air Force v. Rose, 425 U.S. 352, 361 (1976).



II.    FOIA Exemption 5 Does Not Allow Defendant DOE’s Redactions

       Exemption 5 of the Freedom of Information Act exempts from mandatory disclosure

“inter-agency or intra-agency memorandums or letters which would not be available by law to a

party other than an agency in litigation with the agency.” 5 U.S.C § 552(b)(5). DOE has asserted

the deliberative process privilege. Material withheld under this privilege must be “both

predecisonal and deliberative.” Wolfe v. Dep't of Health & Human Services, 839 F.2d 768, 773

(D.C. Cir. 1988) (en banc) (citing EPA v. Mink, 410 U.S. 73 (1973)).

       In addition, the FOIA Improvement Act of 2016 amended FOIA to provide that “[a]n

agency shall ... withhold information under this section only if … (I) the agency reasonably

foresees that disclosure would harm an interest protected by [a FOIA] exemption described in [5

U.S.C. § 552(b)]; or (II) disclosure is prohibited by law[.]” 5 U.S.C. § 552(a)(8)(A). Applying

this provision to Exemption 5, courts have concluded that “[a]bsent a showing of foreseeable

harm to an interest protected by the deliberative process exemption, the documents must be

disclosed.” Rosenberg v. Dep’t of Defense, 342 F.Supp.3d 62, 78 (D.D.C. 2018) (quoting
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Ecological Rights Found. v. FEMA, No. 16-cv-05254, 2017 WL 5972702 at 6 (N.D. Cal. Nov.

30, 2017)).

        A. The Documents at Issue Are Not Deliberative in Nature

        At least 15 of the 17 responsive documents carry a disclaimer on the first page stating,

“This paper does not provide policy recommendations. As an unclassified background paper, it is

intended to help frame key issues, assemble relevant background information, and sketch out

alternative pathways forward.” See, e.g., Document 2. The documents provide factual

background, rather than policy recommendations, and as such are not deliberative. See, e.g., EPA

v. Mink, 410 U.S. 73, 89-92 (1973). If mere “background” memos were sufficient to invoke

Exemption 5, the narrow “deliberative process” exception to production under FOIA would

swallow the rule. Indeed, absent stated “policy recommendations” in the reports at issue here,

there was nothing for the DoD to deliberate over that would conceivably justify withholding

them.

        B. Defendants Have Not Shown Any Foreseeable Harm from Disclosure

              1. No Foreseeable Harm to Foreign Policy Interests

        The government’s sole argument for NNSA’s Exemption 5 redactions is that “the

information reveals the Government’s deliberative process with United States allies on sensitive

policy matters whose release could undermine the Government’s ability to engage in future

deliberations on policy matters.” Defendants’ Memorandum (Docket No. 21-2) at 9. However,

this argument is wholly undermined by State’s conclusion that there was no basis upon which to

redact any of the documents requested. After reviewing Documents 1 through 16, Defendant

State told Defendant DOE, “[W]e have no objection to the release of Department of State

equities.” Declaration of Eric F. Stein, Exhibit 5 (Docket No. 20-8, at 10). Without question, the
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State Department is the agency in the best position to evaluate whether the release of documents

will reveal the United States’ “deliberative process with [its] allies on sensitive policy matters”

and “undermine” the country’s ability to “engage in future deliberations on policy matters” with

its allies. By electing not to redact any of the information sought, the State Department implicitly

rejected the very arguments at the heart of the government’s position here.

       Relations with United States allies are within the scope of “Department of State equities,”

but State did not express any concern about release of this information. If State saw no harm in

making this information public, the Court should likewise find that there is no foreseeable harm.

       It is significant that each of the 17 reports is unclassified. If “the unauthorized disclosure

of the information reasonably could be expected to result in damage to the national security,” it

could properly be classified (under Executive Order 13,526) and withheld under FOIA

Exemption 1. The Court should not allow Defendants to use Exemption 5 as a “backdoor”

method of restricting information that does not meet the standards for classification and thus

does not involve state secrets.

       Document 17 was not reviewed by State, but the same considerations apply. It does not

contain classified information. Therefore the Court should conclude that its release would not

cause foreseeable harm to national security.

           2.   No Foreseeable Harm to Candid Discussion

       Typically, in considering withholdings under FOIA Exemption 5, courts examine

whether the prospect or possibility of disclosure is likely to inhibit the ability of the agency to

receive frank and candid advice. Long before the “foreseeable harm” standard was codified in

statute, the D.C. Circuit explained that “[t]o test whether disclosure of a document is likely to

adversely affect the purposes of the [deliberative process] privilege, courts ask themselves
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whether the document is so candid or personal in nature that public disclosure is likely in the

future to stifle honest and frank communication within the agency ….” Coastal States Gas Corp.

v. DOE, 617 F.2d 854, 866 (1980).

        There is no such risk in this case. The reports present themselves as created by

committee. Most of them state explicitly that “[t]he views expressed here are those of the study

group only and do not represent official positions of the NNSA national laboratories as

institutions, nor of any particular individual participant in the study group.” Individual

contributors know that, even if they were to be identified, they would not be expected to take

responsibility for every paragraph in the report, nor even any paragraph in the report.

            3. No Substantial Risk of Public Confusion

        Defendants have argued that release of the redacted information will “cause confusion to

the public … about U.S. policy toward other countries.” Defendants’ Memo at 9, citing Perez Decl.

¶¶ 11-13. The reports make clear on their faces that they “do not represent official positions of the

NNSA national laboratories,” much less the policies of the U.S. government. They also state that

they “do[] not provide policy recommendations,” much less set policy. Plaintiff is not confused on

this point, and other recipients of the reports will not be either. Indeed, the disclaimer on the reports

presumably was included for the very purpose of avoiding confusion about their scope and purpose.

        To allow censorship of information because the government determines that it is

“confusing” or misleading is directly antithetical to the purposes of FOIA, which include

furthering “citizens’ right to be informed about what their government is up to.” U.S. Dep’t of

Justice v. Reporters Committee for Freedom of the Press, 489 U.S. 749, (1989) (internal quote

omitted). Even in cases where the release of government records could confuse or mislead the

public, the remedy is not secrecy but rather disclosure of more information that will clarify the

state of affairs.
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       C. Defendants Have Provided No Justification for DoD’s Redactions

       An agency receiving a FOIA request may refer it to another agency but does not escape

responsibility for processing the request and defending any redactions or withholdings. See, e.g.,

Hall v. CIA, 668 F. Supp. 2d 172, 182 (D.D.C. 2010). Summary judgment in favor of the agency

is not appropriate where “the results of [its] referral of records … have not been explained ….”

Skinner v. DOJ, 744 F. Supp. 2d 185, 216 (D.D.C. 2010).

       DoD made extensive redactions beyond those made by DOE. See Perez Decl., Exhibit B,

Docket No. 20-5. According to Ms. Perez’ Declaration (Docket No. 21-1, at ¶ 11), “NNSA

withheld the portions marked in yellow …. The remaining redactions were made by the

Department of Defense ….” Defendants have not made any attempt to justify DoD’s redactions,

other than to refer to DoD’s determination letter (Perez Decl., Exhibit C, Docket No. 20-6),

which merely lists the FOIA exemptions that DoD applied. Nor have Defendants provided any

justification to show that DoD’s redactions are as narrow as possible to allow the disclosure of

segregable non-exempt information.

       Defendants have not provided any rationale or explanation for how Exemption 5 justifies

DoD’s redactions, which is particularly egregious in this case where State found no basis for

redactions. Therefore, this redacted material must be released.



III.   FOIA Exemption 6

       In its pleading for summary judgment, Defendants contend that the names of all those

who helped prepare the 17 reports at issue here were properly withheld, citing various standards

– that disclosure might harm the individuals involved, that injury and embarrassment might

result from unnecessary disclosures of personally-identifying information, and that those
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involved might be subject to unwarranted attention, scrutiny or harassment by persons with

political, philosophical, or other objections to their mission.

       Defendants’ arguments are unpersuasive. Their purely theoretical “parade of horribles” if

Plaintiff’s motion is granted pales in comparison to the public’s right to know if those who

helped to prepare the reports had personal or institutional interests in the outcome of the

policymaking that these reports were intended to inform, a circumstance that is a matter of

legitimate public interest. In particular, the public should be able to determine if the contractors

involved in preparing the reports had a financial stake – or at worst, conflict of interest – that

might have influenced the information they provided to the government regarding the nation’s

nuclear posture.

       Bechtel National Inc., for example, is a partner in the consortium of private contractors

that operates Lawrence Livermore National Laboratory, which oversaw the preparation and

distribution of the 17 reports at issue. Bechtel also was part of corporate contractor consortia

operating a total of three other nuclear weapon sites responsible for research and development,

weapon design, supplying nuclear fuel for weapons, assembling and dismantling bombs and

forging internal components for nuclear weapons. Each site is eligible for bonuses from the

government that represent a percentage of the site budgets, so increased workload and new

programs can lead to higher bonuses. Therefore, the tone, content and substance of the

information provided in the responsive records that are the subject of this lawsuit could provide

an impetus for new profits by Bechtel. Thus, the public has a legitimate interest in learning if
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Bechtel employees worked on the reports, and also in discerning what their corporate

responsibilities were at the time this work occurred.

         These are not idle concerns. Nuclear weapons contractors to the federal government have

in fact used their unique positions in attempts to improve their financial positions in the past. For

example, in November 2016, the Justice Department concluded that Bechtel National Inc. and

Bechtel Corp. “improperly used federal contract funds to pay for a comprehensive, multi-year

lobbying campaign of Congress and other federal officials.”

         And in 2014, an inspector general at the Energy Department stated in a public report that

Sandia National Laboratory, then a wholly owned subsidiary of the Lockheed Martin

Corporation, “provided the New Mexico Congressional Delegation with information that raised a

concern about lobbying. Specifically, each year the New Mexico Congressional Delegation

requested that SNL provide them with information on ongoing and future national security and

science research. Included in this package was a ‘Next Steps’ or ‘What Could Congress Do’

section, which sometimes included funding requests or expressed an opinion on a Congressional

matter.” 2 Sandia was one of the three laboratories that helped prepare and disseminate the 17

reports at issue here.

         Plaintiff is not engaged in a fishing expedition. It merely seeks to determine whether the

type of conduct the Justice Department and inspector general highlighted might have occurred


2
  https://www.energy.gov/sites/prod/files/2014/11/f19/IG-0927.pdf
This investigation initiated by the Department of Energy’s Office of the Inspector General resulted in a conclusion
that Sandia National Laboratories, at the time a wholly owned subsidiary of Lockheed Martin, produced reports
similar to those at issue in this FOIA lawsuit that constituted illegal lobbying. The reports generated by Sandia are
similar to the documents at issue in this lawsuit because work on both was funded by the federal government with
the belief they would be of use in consideration of nuclear weapons matters. The inspector general’s investigation
considered reports from Sandia that were requested by the New Mexico congressional delegation. The reports
generated in response to those requests “sometimes included funding requests or expressed an opinion on a
Congressional matter,” a prohibited use of federal funds that had been designated for the specific purpose of creating
nuclear weapons but instead were used to lobby, according to the inspector general’s report. The records at issue in
this lawsuit could be interpreted similarly. The Lockheed Martin subsidiary accused of illegal lobbying settled the
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during the preparation of these reports, a matter of equal public interest. However, to do so,

Plaintiff requires a full understanding of exactly who was involved in the preparation of the

reports at issue and how their positions may have impacted their conclusions.

IV.       FOIA Exemption 7(F)

          Exemption 7(F) protects from disclosure “records or information compiled for law

enforcement purposes [if release] could reasonably be expected to endanger the life or physical

safety of any individual ….” 5 U.S.C. § 552(b)(7). Defendants have not made any argument that

the documents at issue were “compiled for law enforcement purposes.” To the contrary, they

were prepared in connection with a policy review. Because they fail the Exemption 7 “threshold”

test, redaction under Exemption 7(F) is improper.

          Alternatively, the 7(F) redactions are improper because DOE has previously released

information that appears to be substantially similar. Defendants explain that the redacted

“material consists of details about safety-related shut downs at various government facilities”

and says this information could endanger workers at the facilities by revealing vulnerabilities to

enemies of the United States. Defendants’ Memo, at 11. But DOE has released information about

these or similar shutdowns, for instance:

      •   Department of Energy Office of the Inspector General audit report “Follow-up on
          Nuclear Safety: Safety Basis and Quality Assurance at the Los Alamos National
          Laboratory” July 2015.
          https://www.energy.gov/sites/prod/files/2015/07/f24/A13AL046%20Issued%20Final%20
          Report%20LANL%20Nuclear%20Safety%20%207-16.pdf. DOE in this report identifies
          two critical sites that had been shut down for four and two years, respectively, and in
          great detail elaborates on unsafe conditions and the culture that caused them.

      •   Consent order between National Security Technologies LLC and DOE’s Office of
          Enterprise Assessments over radiological contamination events at the Nevada National
          Security Site, June 14, 2016. https://www.energy.gov/sites/prod/files/2016/06/f33/NCO-

accusations by repaying $4.7 million to the federal government: https://www.justice.gov/opa/pr/sandia-corporation-
agrees-pay-47-million-resolve-allegations-related-lobbying-activities
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       2016-02%20NSTec%20Signed%20Consent%20Order%206-22-16.pdf. This consent
       order between the Department of Energy and a contractor describes in minute detail the
       steps that allowed more than 30 scientists to be exposed to airborne uranium, resulting in
       the shutdown of a facility where small scale tests of nuclear weapon components are
       conducted.

These are just two of at least 10 documents published by DOE in the past five years that provide

details of safety-related shutdowns at government facilities.

       “[A]n agency waives its right to claim a FOIA exemption for information that it has officially

released in the public domain.” McKinley v. Bd. of Governors of Fed. Reserve Sys., 849 F. Supp. 2d

47, 59 (D.D.C. 2012) (citing Cottone v. Reno, 193 F.3d 550, 554 (D.C. Cir. 1999)); cf. Niagara v.

Mohawk Power Corp. v. U.S. Dep’t of Energy, 169 F.3d 16, 19 (D.C. Cir. 1999) (applying this logic

to material withheld pursuant to Exemption 4). A court may order disclosure “even over an agency’s

otherwise valid exemption claim” “when information has been ‘officially acknowledged’” through

prior disclosure. Wolf v. CIA, 473 F.3d 370, 378 (D.C. Cir. 2007) (quoting Fitzgibbon v. CIA, 911

F.2d 755, 765 (D.C. Cir. 1990).

       Were DOE legitimately concerned with the public safety implications of disclosing the

details of the shutdowns at issue here, it presumably would not have publicly disclosed the details of

these and similar shutdowns in the past, or it would have “classified” the information provided in

these documents, rather than making the information available to those without security clearances.

To the contrary, DOE’s prior disclosure of such information demonstrates that the public safety

concerns they now invoke are non-existent or trivial at best. The assertion instead appears to stem

from a desire merely to keep this information away from the public, which has a vital interest in

knowing of such actions that may be related to its safety.
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                                      CONCLUSION

      For the foregoing reasons, the Court should grant Plaintiff’s Motion for Summary

Judgment and deny Defendants’ Motion for Summary Judgment.



                                          Respectfully submitted,

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